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2
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6
     Attorney for Defendant Paul Wagner
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8                           UNITED STATES DISTRICT COURT
9
                                    DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,            Case No. 2:10-cr-00399-MMD-GWF-1
11                                        Related Case No. 2:19-cv-01540-MMD
12
                       Plaintiff,
                                          UNOPPOSED MOTION FOR EXTENSION OF
13         vs.                            TIME TO COMPLY WITH ORDER DATED
                                          NOVEMBER 23, 2021 (ECF NO. 359);
14   PAUL WAGNER,                         DECLARATION OF COUNSEL IN SUPPORT
15
                       Defendant.         (First Request)
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1                                            MOTION
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           Defendant Paul Wagner, by and through his counsel, respectfully moves for a 90-
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     day extension of time—to March 17, 2022—to comply with the Court’s order dated
4
     November 23, 2021 (ECF No. 359). The good cause for this motion is set forth in the
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6    attached declaration of counsel. As set forth therein, the government does not object to

7    this request. See Declaration of Jay A. Nelson (“Nelson Decl.”) ¶ 10. This is Mr.
8    Wagner’s first extension request.
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                                              Respectfully submitted,
10
     DATED: November 30, 2021                 LAW OFFICE OF JAY A. NELSON
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12
                                              /s/ Jay A. Nelson
                                              JAY A. NELSON
13                                            637 SW Keck Drive, No. 415
                                              McMinnville, OR 97128
14
                                              Attorney for Defendant Paul Wagner
15

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17         IT IS SO ORDERED.
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           _____________________________
20         THE HONORABLE MIRANDA M. DU
           CHIEF UNITED STATES DISTRICT JUDGE
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22
                   December 1, 2021
           DATED: _________
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1                                DECLARATION OF JAY A. NELSON
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            I, Jay A. Nelson, declare under penalty of perjury as follows:
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            1. I serve as counsel to Defendant Paul Wagner in the above-captioned matter. I
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     am a member of this Court’s Criminal Justice Act Appellate Panel, and am admitted in
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6    this case pro hac vice. Except where otherwise expressly noted, I state the following on

7    personal knowledge and if called as a witness could testify competently thereto.
8           2. On April 23, 2021, the Court appointed me to represent Mr. Wagner in these
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     28 U.S.C. § 2255 proceedings. ECF No. 357. “Because briefing on Wagner’s motion to
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     vacate [was already] completed, the Court appoint[ed] [me] mainly for the purpose of
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12
     receiving Wagner’s files from” predecessor counsel. Id.

13          3. On May 3, 2021, I moved on Mr. Wagner’s behalf to defer submission of his

14   section 2255 motion for 120 days, so that I could review this case and either file (1) an
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     amended section 2255 motion asserting one or more claims of ineffective assistance of
16
     appellate counsel, or (2) a notice that no such claims would be raised. ECF No. 358.
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            4. On November 23, 2021, the Court granted Mr. Wagner’s request nunc pro
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19   tunc, with “additional time, until December 17, 2021, to pursue either alternative

20   indicated in [the] Motion.” ECF No. 359.
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            5. For the following reasons, I respectfully request an extension of time until
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     March 17, 2022 to comply with the Court’s November 23 order.
23
            6. First is the limited scope of the Court’s initial appointment order. As noted,
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25   the Court appointed me “mainly for the purpose of receiving” Mr. Wagner’s case file

26   from predecessor counsel. ECF No. 357. Given the narrow scope of my appointment, I
27   was not at liberty to pursue the large volume of work contemplated by Mr. Wagner’s
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     May 2021 motion unless the Court granted me permission to do so, including a related


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1    (and significant) reservation about whether the work would be compensable under the
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     Criminal Justice Act (“CJA”).
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            7. Given this circumstance, the task of assembling, organizing, reviewing, and
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     assessing Mr. Wagner’s case remains before me. As of this writing, I have reviewed the
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6    relevant docket reports—which reflect, inter alia, a 359-entry clerk’s record, Mr.

7    Wagner’s 13-day jury trial, and his direct appeal—and I have applied for CJA funding to
8    engage the assistance of a highly qualified paralegal. A significant amount of work
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     remains, however, for me to fully comprehend Mr. Wagner’s case.
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            8. Due in part to the uncertainty surrounding my role in these proceedings while
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     Mr. Wagner’s May 2021 motion was pending, I have accumulated a significant number

13   of professional responsibilities in other matters over the coming months. A non-

14   exhaustive representative list of my upcoming obligations includes, but is not limited to,
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     the following:
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                      a. On or before December 23, 2021, filing my client’s reply memorandum
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     and motion for an evidentiary hearing in United States v. Seugasala, D. Alaska No.
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19   3:13-cr-92-RRB, a complex section 2255 proceeding involving a life sentence;

20                    b. On or before December 23, 2021, filing my client’s opening brief in
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     Smith v. Baca, Ninth Cir. No. 20-15278, a serious 28 U.S.C. § 2254 matter also involving
22
     a life sentence;
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                      c. On or before December 23, 2021, filing my client’s opening brief in
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25   United States v. Tejeda, Ninth Cir. No. 21-30103;

26                    d. On or before December 29, 2021, filing my client’s opening brief in
27   United States v. Vaifanua, Ninth Cir. No. 21-30183, which similarly involves a de facto
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     life sentence;


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1                  e. On January 13, 2022, attending oral argument in Pasadena in United
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     States v. Pearson, Ninth Cir. No. 20-10239, which also involves a de facto life sentence;
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                   f. On January 14, 2022, attending oral argument in Pasadena in United
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     States v. Heredia, Ninth Cir. No. 20-10416;
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6                  g. On or before February 7, 2022, filing my client’s opening brief in United

7    States v. Storer, Ninth Cir. No. 21-30213, an expedited appeal subject to particularly
8    strict briefing deadlines; and
9
                   e. Throughout this period, assisting two clients with compassionate
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     release (and other) requests for relief arising out of family and medical hardships.
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            9. In addition to the foregoing, the time period contemplated by this motion

13   encompasses the winter holiday season and a period of pre-planned personal leave.

14          10. I have addressed this request with Assistant United States Attorney William
15
     R. Reed. Mr. Reed responded that the government does not object.
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            11. Based on the foregoing, I ask the Court to recognize the diligence and
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     substantial need supporting this request, and thus to extend the time for Mr. Wagner to
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19   comply with the Court’s order to March 17, 2022.

20          I declare under penalty of perjury of the laws of the United States that the
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     forgoing is true and correct.
22
                                                       /s/ Jay A. Nelson
23   DATED: November 30, 2021                          JAY A. NELSON
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1                                       PROOF OF SERVICE
2
           I, Jay A. Nelson, certify that I have served all parties in this matter by filing the
3
     foregoing pleading electronically, as set forth by LR IC 4-1 and LCR 49-1.
4
                                               /s/ Jay A. Nelson
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     DATED: November 30, 2021                  JAY A. NELSON
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